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                                             U.S. Department of Justice
   [Type text]
                                                       United States Attorney
                                                       Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                       December 30, 2020

   BY EMAIL and ECF

   The Honorable Richard J. Sullivan
   United States Circuit Judge
   United States District Court
   Thurgood Marshall U.S. Courthouse
   40 Foley Square
   New York, New York 10007

              Re:    United States v. Vilar and Tanaka
                     Case No. 05-CR-621 (RJS)

   Dear Judge Sullivan:

                    The Government respectfully requests that the Court set the following briefing
   schedule in response to the letter motion filed by counsel for defendant Alberto Vilar regarding
   his restitution obligations and reappointment of counsel under the Criminal Justice Act (Dkt. No.
   913). The Government would respectfully propose a deadline of January 11, 2021 for filing of
   opposition papers and a deadline of January 19, 2021 for the filing of the reply papers. Counsel
   for Vilar has consented to this schedule.


                                               Respectfully submitted,

                                               AUDREY STRAUSS
                                               Acting United States Attorney



                                            by: /s/
                                                Alexander J. Wilson
                                                Assistant United States Attorney
                                                (212) 637-2453

IT IS HEREBY ORDERED THAT the government shall file its opposition papers
by January 11, 2021, and Defendant shall file his reply by January 19, 2021.
SO ORDERED.

Dated:        December 30, 2020
              New York, New York
                                                                    _____________________
                                                                    Richard J. Sullivan
                                                                    UNITED STATES CIRCUIT JUDGE
                                                                    Sitting by Designation
